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       UNITED STATES DISTRICT COURT
             NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION

AUSTIN BROWN,

            Plaintiff,

v.                                    Case No. 1:17cv305-MW/GRJ

LAWN ENFORCEMENT AGENCY,
INC. and MICHAEL TROIANO,

           Defendants.
__________________________/

         ORDER ON DAMAGES, FEES, AND COSTS

      This Court held on summary judgment that Plaintiff was

entitled to damages for his Fair Labor Standards Act claim. ECF

No. 35. This Court asked the parties to brief the issue of damages

and later asked the parties to brief the issue of attorney’s fees. Id.

at 22; ECF No. 39.

      As for damages, the parties both agree that Plaintiff is

entitled to $84.14 pursuant to 29 U.S.C. 216(b). ECF No. 37; ECF

No. 38. This Court has not independently calculated damages but

simply accepts the parties’ stipulation.

      As for attorney’s fees, this Court concludes Plaintiff is

entitled to such fees pursuant to 29 U.S.C. 216(b). The Eleventh


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Circuit has explained that “Section 216(b) . . . makes fee awards

mandatory for prevailing plaintiffs.” Kreager v. Solomon &

Flanagan, P.A., 775 F.2d 1541, 1542 (11th Cir. 1985). This Court

finds that Plaintiff is a prevailing party because he will receive a

judgment on the merits. Cf., e.g., Wolff v. Royal Am. Mgmt., Inc.,

545 F. App’x 791, 793 (11th Cir. 2013) (unpublished) (noting that

a plaintiff is a prevailing party in a FLSA case when they obtain a

judgment on the merits). Moreover, contrary to Defendants’

arguments, see ECF No. 41, this Court finds that Plaintiff and his

counsel did not engage in bad faith.

      This Court also concludes that Defendants are not entitled to

attorney’s fees. Defendants’ reliance on section 448.08, Florida

Statutes, is misplaced, as that statute is inapplicable in this case.

Cf., Kubiak v. S.W. Cowboy, Inc., No. 3:12-cv-1306-J-34JRK, 2017

WL 1080000, at *7–9 (M.D. Fla. Mar. 22, 2017). Defendants’

settlement offers do not entitle them to fees either because those

offers did not satisfy the statutory requirements. See ECF No. 44,

at 8–10.

      Finally, this Court concludes that, as the prevailing party,

Plaintiff is also entitled to costs. See 29 U.S.C. 216(b) (“The court

in such action shall, in addition to any judgment awarded to the

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plaintiff or plaintiffs, allow a reasonable attorney’s fee to be paid

by the defendant, and costs of the action.”); Fed. R. Civ. P. 56(d)(1)

(“Unless a federal statute, these rules, or a court order provides

otherwise, costs--other than attorney’s fees--should be allowed to

the prevailing party.”).

      Accordingly,

      IT IS ORDERED:

      1. Plaintiff’s   motion   for   damages,   ECF    No.   37,   is

         GRANTED.

      2. Plaintiff’s motion for attorney’s fees and costs, ECF No.

         40, is GRANTED.

      3. This Court does not direct partial entry of judgment

         pursuant to Federal Rule of Civil Procedure 54(b).

      4. No later than March 12, 2019, Plaintiff shall file a brief

         (along with appropriate documentation) outlining the

         amount of attorney’s fees and costs he believes he should

         receive. Defendants shall respond to Plaintiff’s brief no

         later than March 26, 2019.

      SO ORDERED on February 26, 2019.

                           s/Mark E. Walker
                           Chief United States District Judge


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